

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. AP-76,991






EX PARTE TREVOR TYRONE GAINES, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO.10CR1203 IN THE 56TH DISTRICT COURT


FROM GALVESTON COUNTY






	Per curiam.

		

O P I N I O N



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of possession of a
controlled substance and sentenced to eight years' imprisonment.  He did not appeal his conviction. 
	Applicant contends that his due process rights were violated because a forensic scientist did
not follow accepted standards when analyzing evidence and therefore the results of his analyses are
unreliable.  A Department of Public Safety report shows that the lab technician who was solely
responsible for testing the evidence in this case is the scientist found to have committed misconduct.
The record also shows that the evidence in this case has been destroyed and therefore cannot be
retested.  Applicant is entitled to relief. 

	Relief is granted.  The judgment in Cause No. 10CR1203 in the 56th District Court of
Galveston County is set aside, and Applicant is remanded to the custody of the Sheriff of Galveston
County.  The trial court shall issue any necessary bench warrant within 10 days after the mandate of
this Court issues.

	Copies of this opinion shall be sent to the Texas Department of Criminal Justice-Correctional
Institutions Division and Pardons and Paroles Division.


Delivered: March 20, 2013

Do Not Publish


